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IT IS FURTHER ORDERED that the parties must file a joint status report 90 days
from the date of this order.
IT IS FURTHER ORDERED that Defendant's Motion for a Competency Evaluation
(ECF No. 84) is GRANTED.
IT IS SO ORDERED.
DATED: March 17, 2016




                                         _________________________________
                                         UNITED STATES MAGISTRATE JUDGE
